                       Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 1 of 16


            1    THEODORE J. BOUTROUS JR., SBN 132099                   MARK A. PERRY, SBN 212532
                    tboutrous@gibsondunn.com                              mperry@gibsondunn.com
            2    RICHARD J. DOREN, SBN 124666                           CYNTHIA E. RICHMAN (D.C. Bar No.
                    rdoren@gibsondunn.com                                 492089; pro hac vice)
            3    DANIEL G. SWANSON, SBN 116556                            crichman@gibsondunn.com
                    dswanson@gibsondunn.com                             GIBSON, DUNN & CRUTCHER LLP
            4    JAY P. SRINIVASAN, SBN 181471                          1050 Connecticut Avenue, N.W.
                   jsrinivasan@gibsondunn.com                           Washington, DC 20036-5306
            5    GIBSON, DUNN & CRUTCHER LLP                            Telephone: 202.955.8500
                 333 South Grand Avenue                                 Facsimile: 202.467.0539
            6    Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000                                ETHAN DETTMER, SBN 196046
            7    Facsimile: 213.229.7520                                  edettmer@gibsondunn.com
                                                                        GIBSON, DUNN & CRUTCHER LLP
            8    VERONICA S. LEWIS (Texas Bar No.                       555 Mission Street, Suite 3000
                 24000092; pro hac vice)                                San Francisco, CA 94105-0921
            9      vlewis@gibsondunn.com                                Telephone: 415.393.8200
                 GIBSON, DUNN & CRUTCHER LLP                            Facsimile: 415.393.8306
          10     2100 McKinney Avenue, Suite 1100
                 Dallas, TX 75201                                       Attorneys for Defendant, APPLE INC.
          11     Telephone: 214.698.3100
                 Facsimile: 214.571.2900
          12

          13
                                               UNITED STATES DISTRICT COURT
          14
                                              NORTHERN DISTRICT OF CALIFORNIA
          15
                                                     OAKLAND DIVISION
          16

          17
                 EPIC GAMES, INC.,                              CASE NO. 4:20-CV-05640-YGR
          18
                                      Plaintiff,                DEFENDANT APPLE INC.’S OBJECTIONS
          19                                                    AND RESPONSES TO PLAINTIFF EPIC
                        v.                                      GAMES, INC.’S SECOND SET OF
          20                                                    REQUESTS FOR PRODUCTION OF
                 APPLE INC.,                                    DOCUMENTS
          21
                                      Defendant.                The Hon. Yvonne Gonzalez Rogers
          22

          23
                 And related counterclaims.
          24

          25

          26     PROPOUNDING PARTY:                       Plaintiff Epic Games, Inc.

          27     RESPONDING PARTY:                        Defendant Apple Inc.

          28     SET NO.:                                 TWO
Gibson, Dunn &
Crutcher LLP
                  DEFENDANT APPLE INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                       SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-056404-YGR
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                        Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 2 of 16


            1           Pursuant to Federal Rules of Civil Procedure 26 and 34, Defendant Apple Inc., by and through
            2    the undersigned counsel, hereby objects and responds to the Plaintiff Epic Games, Inc.’s Second Set
            3    of Requests for Production, including without limitation the document requests (the “Requests”),
            4    Definitions, and Instructions contained therein.
            5                                       PRELIMINARY STATEMENT
            6           1.      Apple’s responses to the Requests are made to the best of its current knowledge,
            7    information, and belief. Apple reserves the right to supplement or amend any of its responses should
            8    future investigation indicate that such supplementation or amendment is necessary.
            9           2.      Apple’s responses to the Requests are confidential and made solely for the purposes of
          10     and in relation to this action. Each response is given subject to all appropriate objections (including,
          11     but not limited to, objections concerning privilege, competency, relevancy, materiality, propriety, and
          12     admissibility). All objections are reserved and may be interposed at any time.
          13            3.      Apple’s responses are based on its understanding that Plaintiff seeks only information
          14     that is within Apple’s possession, custody, and control.
          15            4.      Apple incorporates by reference each and every General Objection set forth into each
          16     and every Specific Response and Objection. From time to time, a Specific Response and Objection
          17     may repeat a General Objection. The failure to include any General Objection in any Specific
          18     Response and Objection shall not be interpreted as a waiver of any General Objection to that
          19     response.
          20            5.      Nothing contained in these Responses and Objections or provided in response to the
          21     Requests consists of, or should be construed as, an admission relating to the accuracy, relevance,
          22     existence, or nonexistence of any alleged facts or information referenced in any Request.
          23                                           GENERAL OBJECTIONS
          24            1.      Apple generally objects to the Requests (including the Definitions and Instructions),
          25     on the grounds and to the extent that they purport to impose obligations beyond those imposed or
          26     authorized by the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the Local Rules of
          27     the Northern District of California, any other applicable federal or state law, and any agreements
          28
Gibson, Dunn &
Crutcher LLP
                                                                     2
                  DEFENDANT APPLE INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                        Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 3 of 16


            1    between the parties. Apple will construe and respond to the Requests in accordance with the
            2    requirements of the Federal Rules of Civil Procedure and other applicable rules or laws.
            3           2.      Apple generally objects to the Requests to the extent that they are duplicative of the
            4    requests served by the Consumer Plaintiffs and/or Developer Plaintiffs in their respective requests for
            5    production. The Court’s Order Regarding Coordination of Discovery in the Related App Store
            6    Actions requires that “Plaintiffs shall coordinate discovery efforts to minimize expenses and facilitate
            7    the orderly and efficient progress of the Related App Store Actions. Consumer Plaintiffs and
            8    Developer Plaintiffs shall consult in good faith and engage in reasonable effort to coordinate
            9    discovery . . . . To the extent discovery is served by any Plaintiff, such Plaintiff shall avoid
          10     duplicating discovery requests previously served by any other Plaintiffs.” See, e.g., Cameron, ECF
          11     80 at ¶ 1. “Any cases that are subsequently related to the Related App Store Actions are to be bound
          12     by these protocols governing the coordination of discovery.” Id. at ¶ 7. Additionally, during the
          13     October 19, 2020 Case Management Conference in this case, the Court instructed Epic that it “cannot
          14     re-litigate” the discovery responses in the Cameron and Pepper Actions. Oct. 19, 2020 Hr’g Tr. at
          15     20:17-24. Accordingly, except where stated otherwise, Apple will produce non-privileged documents
          16     responsive to these requests, to the extent in existence and locatable after a reasonable search of the
          17     documents of the individuals who have been designated as custodians in the above-captioned action
          18     (“Designated Custodians”).
          19            3.      Apple generally objects to the Requests to the extent that they seek documents and
          20     information that are unrelated and irrelevant to the claims in, or defenses to, this litigation and
          21     disproportionate to the needs of the case, or are of such marginal relevance that their probative value
          22     is outweighed by the burden imposed on Apple in having to search for and provide such documents
          23     or information.
          24            4.      Apple generally objects to the Requests to the extent that they are vague, ambiguous,
          25     overly broad, and/or unduly burdensome, including to the extent that they call for the production of
          26     “each,” “every,” “any,” or “all” documents concerning the subject matters referenced therein.
          27

          28
Gibson, Dunn &
Crutcher LLP
                                                                      3
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                        Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 4 of 16


            1           5.      Apple generally objects to the Requests to the extent they do not identify the
            2    documents sought with reasonable particularity as required by Rule 34(b) of the Federal Rules of
            3    Civil Procedure.
            4           6.      Apple generally objects to the Requests on the grounds and to the extent that they call
            5    for the production of any information or documents protected by the attorney-client privilege, the
            6    attorney work-product doctrine, Federal Rule of Evidence 502, any other legally cognizable privilege
            7    or immunity, or the laws, regulations, or policies of other countries, and Apple and its counsel hereby
            8    assert such privileges and immunities. Inadvertent production of any information or documents that
            9    are privileged or otherwise immune from discovery shall not constitute a waiver of any privilege or of
          10     any other ground for objecting to the discovery with respect to such information or documents or the
          11     subject matter thereof, or the right of Apple to object to the use of any such information or documents
          12     or the subject matter thereof during these or any other proceedings. The production of a privileged or
          13     work-product-protected document, whether inadvertent or otherwise, is not a waiver of privilege or
          14     protection from discovery in this case or in any other federal or state proceeding to the fullest extent
          15     of Federal Rule of Evidence sections 502(d) and (e). For example, the production of privileged or
          16     work-product-protected documents in this case as part of a mass production is not itself a waiver in
          17     this case or in any other federal or state proceeding.
          18            7.      Apple generally objects to the Requests to the extent that they seek proprietary or
          19     other confidential information. To the extent any proprietary or confidential information, trade secret,
          20     or other sensitive or protected business information is non-privileged and responsive to the Requests
          21     and not otherwise objectionable, Apple will produce such information in accordance with the
          22     Stipulated Protective Order entered in this litigation, as well as the ESI Protocol entered in this
          23     litigation, and such other procedures as the parties or Court may establish to protect sensitive or
          24     confidential information.
          25            8.      Apple generally objects to production of documents in response to the Requests on the
          26     grounds and to the extent that production of such documents demanded therein would violate the
          27     rights of privacy of third parties under California law or other applicable laws of any relevant
          28
Gibson, Dunn &
Crutcher LLP
                                                                     4
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                          Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 5 of 16


            1    jurisdiction, or that such production otherwise is prohibited by law, or is subject to legal requirements
            2    for notification of third parties.
            3              9.     Apple generally objects to the Requests to the extent they seek information outside of
            4    Apple’s possession, custody, and control, or to the extent they are inconsistent with federal law,
            5    international treaties or conventions, and/or conflict of law and comity principles by seeking
            6    documents or information located outside the United States.
            7              10.    Apple generally objects to the Requests to the extent that they seek documents and
            8    information related to consumers located outside of the United States or their transactions, or
            9    transactions, conduct, or activity taking place outside of the United States or involving trade or
          10     commerce with foreign nations, because such Requests are overly broad, unduly burdensome, not
          11     relevant to the claims or defenses in this action, or otherwise outside the proper scope of discovery in
          12     accordance with the Foreign Trade Antitrust Improvement Act, 15 U.S.C. § 6a.
          13               11.    Apple generally objects to the Requests to the extent that they seek information that is
          14     already in Plaintiff’s possession, that is publicly available, or that is readily available from another
          15     source.
          16               12.    Apple generally objects to the Requests to the extent they seek to impose an obligation
          17     on Apple to conduct anything beyond a diligent search and reasonable inquiry of readily accessible
          18     files, including electronic files, where responsive documents would reasonably be expected to be
          19     found.
          20               13.    Apple objects to each Request to the extent that it uses words and phrases that are not
          21     defined in an understandable manner. Apple will interpret the terms and phrases used in those
          22     requests as those terms and phrases are understood to Apple.
          23               14.    Apple objects to the definition of “Apple,” “You,” and/or “Your” as overly broad and
          24     unduly burdensome to the extent that it includes “predecessors, successors, subsidiaries . . .
          25     affiliates, . . . consultants and representatives.” In responding to these Requests, Apple will construe
          26     the terms “Apple,” “You,” and/or “Your” to refer to Apple Inc. and its employees.
          27

          28
Gibson, Dunn &
Crutcher LLP
                                                                      5
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                                 REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                        Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 6 of 16


            1           15.     Apple objects to Instruction A to the extent that it states “[t]he timeframe for the
            2    Requests is unlimited,” thus making each Request overly broad, unduly burdensome, and not relevant
            3    to the claims or defenses in this action, especially Requests that seek documents pertaining to actions
            4    outside the applicable statutes of limitations. Unless otherwise stated, Apple will collect and produce
            5    documents for the time period January 1, 2017 through August 13, 2020.
            6           16.     By stating in these responses that Apple will produce documents, Apple does not
            7    intend to represent that any responsive documents actually exist, but rather that Apple is making and
            8    will continue to make a reasonable, good faith search and attempt to ascertain whether responsive
            9    documents do in fact exist.
          10                                SPECIFIC RESPONSES AND OBJECTIONS
          11     REQUEST FOR PRODUCTION NO. 71:
          12            All Documents Concerning Apple’s decision or rationale to create the App Store Small
          13     Business Program.
          14     RESPONSE TO REQUEST FOR PRODUCTION NO. 71:
          15            Apple incorporates by reference the foregoing General Objections. Apple further objects to
          16     the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
          17     objects on the grounds that the Request seeks information that is not proportional to the needs of the
          18     case. Apple further objects to the Request to the extent that it seeks documents protected from
          19     disclosure by the attorney-client privilege, the attorney work product doctrine, and/or any other
          20     applicable privilege, doctrine, or protection.
          21            Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
          22     discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
          23     locatable after a reasonable search of Apple’s Designated Custodians’ documents, non-privileged
          24     documents that are sufficient to show Apple’s decision or rationale to create the App Store Small
          25     Business Program.
          26

          27

          28
Gibson, Dunn &
Crutcher LLP
                                                                     6
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                        Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 7 of 16


            1    REQUEST FOR PRODUCTION NO. 72:
            2           All Documents Concerning the actual or potential financial and other business consequences
            3    of the App Store Small Business Program.
            4    RESPONSE TO REQUEST FOR PRODUCTION NO. 72:
            5           Apple incorporates by reference the foregoing General Objections. Apple further objects to
            6    the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
            7    objects on the grounds that the Request seeks information that is not proportional to the needs of the
            8    case. Apple further objects to the Request to the extent that it seeks documents protected from
            9    disclosure by the attorney-client privilege, the attorney work product doctrine, and/or any other
          10     applicable privilege, doctrine, or protection. Apple further objects to this Request to the extent that it
          11     seeks information not maintained in the ordinary course of business by Apple. Apple further objects
          12     to the Request on the grounds that the Request’s use of the phrase “actual or potential financial and
          13     other business consequences” renders the Request vague and ambiguous.
          14            Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
          15     discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
          16     locatable after a reasonable search of Apple’s Designated Custodians’ documents, non-privileged
          17     documents sufficient to show the financial impact of the App Store Small Business Program.
          18     REQUEST FOR PRODUCTION NO. 73:
          19            All Documents Concerning the actual or potential public reception of the App Store Small
          20     Business Program.
          21     RESPONSE TO REQUEST FOR PRODUCTION NO. 73:
          22            Apple incorporates by reference the foregoing General Objections. Apple further objects to
          23     the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
          24     objects on the grounds that the Request seeks information that is not proportional to the needs of the
          25     case. Apple further objects to the Request to the extent that it seeks documents protected from
          26     disclosure by the attorney-client privilege, the attorney work product doctrine, and/or any other
          27     applicable privilege, doctrine, or protection. Apple further objects to the Request on the grounds that
          28
Gibson, Dunn &
Crutcher LLP
                                                                     7
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                        Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 8 of 16


            1    the Request’s use of the phrase “actual or potential public reception” renders the Request vague and
            2    ambiguous. Apple further objects to this Request on the grounds that the Request is cumulative and
            3    duplicative of Request for Production No. 72. Apple further objects to this Request to the extent the
            4    Request seeks public information that is equally available to Plaintiff.
            5           Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
            6    discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
            7    locatable after a reasonable search of Apple’s Designated Custodians’ documents, non-privileged
            8    documents that are responsive to a reasonable interpretation of this Request.
            9    REQUEST FOR PRODUCTION NO. 74:
          10            All Documents Concerning Apple’s consideration of the terms of the App Store Small
          11     Business Program, including the pricing, qualification thresholds, and end date or lack of end date.
          12     RESPONSE TO REQUEST FOR PRODUCTION NO. 74:
          13            Apple incorporates by reference the foregoing General Objections. Apple further objects to
          14     the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
          15     objects on the grounds that the Request seeks information that is not proportional to the needs of the
          16     case. Apple further objects to the Request to the extent that it seeks documents protected from
          17     disclosure by the attorney-client privilege, the attorney work product doctrine, and/or any other
          18     applicable privilege, doctrine, or protection. Apple further objects to the Request on the grounds that
          19     the Request’s use of the phrases “pricing” and “qualification thresholds” renders the Request vague
          20     and ambiguous.
          21            Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
          22     discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
          23     locatable after a reasonable search of Apple’s Designated Custodians’ documents, non-privileged
          24     documents sufficient to show Apple’s establishment of the terms of the App Store Small Business
          25     Program.
          26

          27

          28
Gibson, Dunn &
Crutcher LLP
                                                                     8
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                        Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 9 of 16


            1    REQUEST FOR PRODUCTION NO. 75:
            2           All Documents Concerning Apple’s statement that “The new App Store Small Business
            3    Program will build on that progress to generate even more digital commerce and app innovations,
            4    support new jobs, and help small and independent developers continue to bring great software to
            5    Apple users.” (Apple, “Apple announces App Store Small Business Program”,
            6    https://www.apple.com/newsroom/2020/11/apple-announces-app-store-small-business-program/ (last
            7    accessed November 25, 2020).)
            8    RESPONSE TO REQUEST FOR PRODUCTION NO. 75:
            9           Apple incorporates by reference the foregoing General Objections. Apple further objects to
          10     the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
          11     objects on the grounds that the Request seeks information that is not proportional to the needs of the
          12     case. Apple further objects to the Request to the extent that it seeks documents protected from
          13     disclosure by the attorney-client privilege, the attorney work product doctrine, and/or any other
          14     applicable privilege, doctrine, or protection. Apple further objects to the Request on the grounds that
          15     the Request’s use of the phrase “All Documents Concerning Apple’s statement” renders the Request
          16     vague and ambiguous. Apple further objects to this Request on the grounds that the Request is
          17     cumulative and duplicative of Request for Production No. 72.
          18            Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
          19     discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
          20     locatable after a reasonable search of Apple’s Designated Custodians’ documents, non-privileged
          21     documents that are responsive to a reasonable interpretation of this Request.
          22     REQUEST FOR PRODUCTION NO. 76:
          23            All Documents Concerning Apple’s statement that “The savings mean small businesses and
          24     developers will have even more funds to invest in their businesses, expand their workforce, and
          25     develop new, innovative features for app users around the world.” (Apple, “Developers see a world of
          26     possibilities with new App Store Small Business Program”,
          27

          28
Gibson, Dunn &
Crutcher LLP
                                                                    9
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                       Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 10 of 16


            1    https://www.apple.com/newsroom/2020/11/developers-see-a-world-of-possibilities-with-new-app-
            2    store-small-business-program/ (last accessed November 25, 2020).)
            3    RESPONSE TO REQUEST FOR PRODUCTION NO. 76:
            4           Apple incorporates by reference the foregoing General Objections. Apple further objects to
            5    the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
            6    objects on the grounds that the Request seeks information that is not proportional to the needs of the
            7    case. Apple further objects to the Request to the extent that it seeks documents protected from
            8    disclosure by the attorney-client privilege, the attorney work product doctrine, and/or any other
            9    applicable privilege, doctrine, or protection. Apple further objects to the Request on the grounds that
          10     the Request’s use of the phrase “All Documents Concerning Apple’s statement” renders the Request
          11     vague and ambiguous. Apple further objects to this Request on the grounds that the Request is
          12     cumulative and duplicative of Request for Production No. 72.
          13            Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
          14     discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
          15     locatable after a reasonable search of Apple’s Designated Custodians’ documents, non-privileged
          16     documents that are responsive to a reasonable interpretation of this Request.
          17     REQUEST FOR PRODUCTION NO. 77:
          18            All Documents Concerning Apple’s statement that Apple announced the App Store Small
          19     Business Program “to accelerate innovation”. (Apple, “Apple announces App Store Small Business
          20     Program”, https://www.apple.com/newsroom/2020/11/apple-announces-app-store-small-business-
          21     program/ (last accessed November 25, 2020).)
          22     RESPONSE TO REQUEST FOR PRODUCTION NO. 77:
          23            Apple incorporates by reference the foregoing General Objections. Apple further objects to
          24     the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
          25     objects on the grounds that the Request seeks information that is not proportional to the needs of the
          26     case. Apple further objects to the Request to the extent that it seeks documents protected from
          27     disclosure by the attorney-client privilege, the attorney work product doctrine, and/or any other
          28
Gibson, Dunn &
Crutcher LLP
                                                                   10
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                       Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 11 of 16


            1    applicable privilege, doctrine, or protection. Apple further objects to the Request on the grounds that
            2    the Request’s use of the phrase “All Documents Concerning Apple’s statement” renders the Request
            3    vague and ambiguous. Apple further objects to this Request on the grounds that the Request is
            4    cumulative and duplicative of Request for Production No. 71.
            5           Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
            6    discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
            7    locatable after a reasonable search of Apple’s Designated Custodians’ documents, non-privileged
            8    documents that are responsive to a reasonable interpretation this Request.
            9    REQUEST FOR PRODUCTION NO. 78:
          10            All Documents Concerning alternatives considered by Apple to the App Store Small Business
          11     Program.
          12     RESPONSE TO REQUEST FOR PRODUCTION NO. 78:
          13            Apple incorporates by reference the foregoing General Objections. Apple further objects to
          14     the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
          15     objects on the grounds that the Request seeks information that is not proportional to the needs of the
          16     case. Apple further objects to the Request to the extent that it seeks documents protected from
          17     disclosure by the attorney-client privilege, the attorney work product doctrine, and/or any other
          18     applicable privilege, doctrine, or protection. Apple further objects to the Request on the grounds that
          19     the Request’s use of the phrase “alternatives considered by Apple to the App Store Small Business
          20     Program” renders the Request vague and ambiguous.
          21            Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
          22     discovery in this action, Apple responds as follows: Apple will meet and confer with Plaintiff to
          23     understand what Plaintiff seeks with the Request.
          24     REQUEST FOR PRODUCTION NO. 79:
          25            Documents sufficient to show the actual and projected impact of the App Store Small
          26     Business Program on Apple’s or any Apple business unit’s revenue, costs, expenses, and profits.
          27

          28
Gibson, Dunn &
Crutcher LLP
                                                                     11
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                       Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 12 of 16


            1    RESPONSE TO REQUEST FOR PRODUCTION NO. 79:
            2           Apple incorporates by reference the foregoing General Objections. Apple further objects to
            3    the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
            4    objects on the grounds that the Request seeks information that is not proportional to the needs of the
            5    case. Apple further objects to the Request to the extent that it seeks documents protected from
            6    disclosure by the attorney-client privilege, the attorney work product doctrine, and/or any other
            7    applicable privilege, doctrine, or protection. Apple further objects to this Request to the extent that it
            8    seeks information not maintained in the ordinary course of business by Apple. Apple further objects
            9    to the Request on the grounds that the Request’s use of the phrase “actual and projected impact”
          10     renders the Request vague and ambiguous.
          11            Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
          12     discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
          13     locatable after a reasonable search of Apple’s Designated Custodians’ documents, non-privileged
          14     documents sufficient to show actual and projected revenue, costs, expenses, and profits of the App
          15     Store Small Business Program.
          16     REQUEST FOR PRODUCTION NO. 80:
          17            All Documents Concerning Communications between Apple and any Developers Concerning
          18     the App Store Small Business Program.
          19     RESPONSE TO REQUEST FOR PRODUCTION NO. 80:
          20            Apple incorporates by reference the foregoing General Objections. Apple further objects to
          21     the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
          22     objects on the grounds that the Request seeks information that is not proportional to the needs of the
          23     case. Apple further objects to this Request to the extent that it seeks information or documents that
          24     may be subject to confidentiality agreements with third parties. Apple further objects to the Request
          25     to the extent that it seeks documents protected from disclosure by the attorney-client privilege, the
          26     attorney work product doctrine, and/or any other applicable privilege, doctrine, or protection.
          27

          28
Gibson, Dunn &
Crutcher LLP
                                                                     12
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                       Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 13 of 16


            1           Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
            2    discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
            3    locatable after a reasonable search of Apple’s Designated Custodians’ documents, non-privileged
            4    documents that are responsive to this Request.
            5    REQUEST FOR PRODUCTION NO. 81:
            6           All Documents Concerning
            7

            8

            9    RESPONSE TO REQUEST FOR PRODUCTION NO. 81:
          10            Apple incorporates by reference the foregoing General Objections. Apple further objects to
          11     the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
          12     objects on the grounds that the Request seeks information that is not relevant to any party’s claim or
          13     defense or proportional to the needs of the case. Apple further objects to the Request to the extent
          14     that it seeks documents protected from disclosure by the attorney-client privilege, the attorney work
          15     product doctrine, and/or any other applicable privilege, doctrine, or protection. Apple further objects
          16     to the Request on the grounds that the Request’s use of the phrase “any response considered or
          17     undertaken by Apple” renders the Request vague and ambiguous.
          18            Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
          19     discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
          20     locatable after a reasonable search of Apple’s Designated Custodians’ documents, non-privileged
          21     documents that relate to
          22

          23     REQUEST FOR PRODUCTION NO. 82:
          24            All studies, analyses, surveys, reports, assessments or papers that Apple created, conducted,
          25     commissioned or reviewed Concerning the ability or inability of Developers to use “the open Internet
          26     and web browser apps to reach all users outside of the App Store” on iOS. (App Store Review
          27     Guidelines § 4.9.)
          28
Gibson, Dunn &
Crutcher LLP
                                                                   13
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                       Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 14 of 16


            1    RESPONSE TO REQUEST FOR PRODUCTION NO. 82:
            2           Apple incorporates by reference the foregoing General Objections. Apple further objects to
            3    the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
            4    objects to this Request to the extent it seeks documents that are not in the possession, custody, and/or
            5    control of Apple including, but not limited to, any surveys developed and/or conducted by a third
            6    party or equally available to Plaintiff. Apple further objects on the grounds that the Request seeks
            7    information that is not proportional to the needs of the case. Apple further objects to the Request to
            8    the extent that it seeks documents protected from disclosure by the attorney-client privilege, the
            9    attorney work product doctrine, and/or any other applicable privilege, doctrine, or protection.
          10            Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
          11     discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
          12     locatable after a reasonable search of Apple’s Designated Custodians’ documents and reasonably
          13     accessible non-custodial sources, non-privileged documents that are responsive to this Request.
          14     REQUEST FOR PRODUCTION NO. 83:
          15            All studies, analyses, surveys, reports, assessments or papers that Apple created, conducted,
          16     commissioned or reviewed Concerning the extent to which Developers or Customers view “the open
          17     Internet and web browser apps” on iOS as substitutes for the iOS App Store. (App Store Review
          18     Guidelines § 4.9.)
          19     RESPONSE TO REQUEST FOR PRODUCTION NO. 83:
          20            Apple incorporates by reference the foregoing General Objections. Apple further objects to
          21     the Request on the grounds that it is overbroad as written and unduly burdensome. Apple further
          22     objects to this Request to the extent it seeks documents that are not in the possession, custody, and/or
          23     control of Apple including, but not limited to, any surveys developed and/or conducted by a third
          24     party or equally available to Plaintiff. Apple further objects on the grounds that the Request seeks
          25     information that is not proportional to the needs of the case. Apple further objects to the Request to
          26     the extent that it seeks documents protected from disclosure by the attorney-client privilege, the
          27     attorney work product doctrine, and/or any other applicable privilege, doctrine, or protection.
          28
Gibson, Dunn &
Crutcher LLP
                                                                    14
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                       Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 15 of 16


            1           Subject to and without waiving the foregoing objections, and subject to the ongoing nature of
            2    discovery in this action, Apple responds as follows: Apple will produce, to the extent in existence and
            3    locatable after a reasonable search of Apple’s Designated Custodians’ documents and reasonably
            4    accessible non-custodial sources, non-privileged documents that are responsive to this Request.
            5

            6
                 DATED: December 28, 2020                     GIBSON, DUNN & CRUTCHER LLP:
            7

            8

            9                                                 By: /s/ Jay Srinivasan
                                                                  Jay Srinivasan
          10
                                                              Attorney for Defendant Apple Inc.
          11

          12

          13

          14

          15

          16

          17

          18

          19
          20

          21

          22

          23

          24

          25

          26

          27

          28
Gibson, Dunn &
Crutcher LLP
                                                                   15
                  DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                        SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
                        Case 4:20-cv-05640-YGR Document 311-4 Filed 02/02/21 Page 16 of 16


                                                     CERTIFICATE OF SERVICE
            1
                          I, Betty X. Yang, hereby certify that I am a citizen of the United States, over the age of
            2
                 eighteen, and not a party to this action. I hereby certify that on December 28, 2020, I delivered the
            3
                 foregoing DEFENDANT APPLE INC.’S OBJECTIONS AND RESPONSES TO PLAINTIFF EPIC
            4
                 GAMES, INC.’S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS, via
            5
                 electronic mail, pursuant to an agreement among the parties for electronic service, to the following
            6
                 counsel in this action and the related actions:
            7
                       PAUL R. RIEHLE                                   STEVE W. BERMAN
            8
                       paul.riehle@faegredrinker.com                    steve@hbsslaw.com
            9          FAEGRE DRINKER BIDDLE &                          ROBERT F. LOPEZ
                       REATH LLP                                        robl@hbsslaw.com
          10                                                            SHANA E. SCARLETT
                       CHRISTINE A. VARNEY                              shanas@hbsslaw.com
          11           cvarney@cravath.com                              BENJAMIN J. SIEGEL
                       KATHERINE B. FORREST                             bens@hbsslaw.com
          12
                       kforrest@cravarth.com                            HAGENS BERMAN SOBOL SHAPIRO LLP
          13           GARY A. BORNSTEIN
                       gbornstein@cravarth.com                          Interim Class Counsel for the Developer Plaintiffs
          14           YONATAN EVEN
                       yeven@cravath.com                                MARK C. RIFKIN
          15           LAUREN A. MOSKOWITZ                              rifkin@whafh.com
                       lmoskowitz@cravath.com                           RACHELE R. BYRD
          16
                       M. BRENT BYARS                                   byrd@whafh.com
          17           mbyars@cravath.com                               MATTHEW M. GUINEY
                       CRAVATH, SWAINE & MOORE LLP                      guiney@whafh.com
          18                                                            BRITTANY N. DEJONG
                       Counsel to Epic Games, Inc.                      dejong@whafh.com
          19
                                                                        WOLF HALDENSTEIN ADLER FREEMAN
          20                                                            & HERZ LLP

          21                                                            Interim Class Counsel for the Consumer Plaintiffs
          22
                          I declare under penalty of perjury under the laws of the United States of America that the
          23
                 foregoing is true and correct. Executed this 28th day of December, 2020, at Dallas, Texas.
          24
                                                                          /s/ Betty X. Yang
          25
                                                                                     Betty X. Yang
          26

          27
                 104317295.8

          28
Gibson, Dunn &
Crutcher LLP
                                                                     16
                   DEFENDANT APPLE INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFF EPIC GAMES, INC.’S SECOND
                         SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS – CASE NO. 4:20-CV-05640-YGR
                               REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
